      Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 1 of 7



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 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11

12   SUSAN LLOYD,                                   Case No. 3:21-cv-10075-EMC

13                 Plaintiff,                       DEFENDANTS’ OPPOSITION TO
                                                    PLAINTIFF’S MOTION TO STRIKE
14          v.
                                                    Date:
15   FACEBOOK, INC. et al.,                         Time:
                                                    Courtroom: Courtroom 5 – 17th Floor
16                 Defendants.                      Judge:     Hon. Edward M. Chen

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                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                     Case No. 3:21-cv-10075-EMC
          Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 2 of 7



 1                                                      TABLE OF CONTENTS

 2                                                                                                                                             Page

 3   I.       INTRODUCTION ...............................................................................................................2

 4   II.      FACTS .................................................................................................................................2

 5   III.     ARGUMENT .......................................................................................................................3

 6            A.         The Court Should Deny Plaintiff’s Motion Because Defendants Relied On
                         Documents That Are Subject To Judicial Notice ....................................................3
 7
              B.         The Court Should Grant Defendants’ Motion To Dismiss And Request for
 8                       Judicial Notice .........................................................................................................5

 9   IV.      CONCLUSION ....................................................................................................................6

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                             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                            Case No. 3:21-cv-10075-EMC
          Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 3 of 7



 1   I.       INTRODUCTION

 2            Rather than opposing Defendants’ Motion to Dismiss Plaintiff’s First Amended

 3   Complaint (“FAC”), which highlights the glaring deficiencies in Plaintiff Susan Lloyd’s FAC,

 4   Plaintiff filed the present motion, asking the court to strike Defendants’ Motion to Dismiss

 5   Plaintiff’s FAC, or alternatively, to convert it into a motion for summary judgment (“Motion”).1

 6   Plaintiff’s Motion is improper and should be denied.

 7            Plaintiff incorrectly claims that the Court must convert Defendants’ Motion into a motion

 8   for summary judgment because Defendants relied on purportedly “extrinsic evidence.” But

 9   Plaintiff ignores a key fact—Defendants are permitted to rely on Meta’s Terms of Service and

10   Data Policy if the Court deems these documents subject to judicial notice. See Defendants’

11   Request for Judicial Notice (“RJN”). If Plaintiff wanted to oppose Defendants’ RJN, she could

12   have done so. However, that time has now passed. What is more, Plaintiff has failed to address

13   any of Defendants’ substantive arguments for dismissal by failing to oppose Defendants’ Motion

14   to Dismiss. Plaintiff has had multiple opportunities to address Defendants’ argument that she

15   failed to state a claim for which relief can be granted. For these reasons, Defendants respectfully

16   request that the Court deny Plaintiff’s Motion.

17   II.      FACTS

18            Plaintiff filed her original complaint (“Complaint”) against Defendants on December 29,

19   2021. Dkt. No. 1. Plaintiff’s Complaint was premised on three unrelated theories: (1) Meta’s

20   Facebook platform purportedly has various accommodation barriers; (2) allegedly as early as

21   2016, third-party users (not the Defendants) have harassed and bullied Plaintiff on the Facebook

22   platform, and (3) Defendants allegedly track Plaintiff’s internet activity on other websites.2 On

23   May 25, 2022, Defendants moved to dismiss the Complaint, arguing that Plaintiff failed to state a

24   claim for every one of her causes of action, and that Section 230 of the Communications Decency

25   1
       Plaintiff titles her motion as follows: “Motion to Strike Defendants’ Motion to Dismiss or in the
     Alternative to Convert to Motion for Summary Judgment and Motion to Decide After Discovery
26   Has Taken Place and Motion to Give Lloyd Extension of Time to File a Second Amended
     Complaint and/or Respond to Defendants Motion.”
27   2
       On May 5, 2022, the parties stipulated and agreed to a 30-day extension for Defendants to
28   respond to Plaintiff’s Complaint, which made the new deadline for Defendants’ response May 25,
     2022.
                                                     2
                        DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                       Case No. 3:21-cv-10075-EMC
       Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 4 of 7



 1   Act (“CDA”) independently barred her claims for fraud, common law invasion of privacy, breach

 2   of contract, negligence, and negligent infliction of emotional distress. Dkt. No. 13. Plaintiff did

 3   not respond to Defendants’ original Motion to Dismiss Plaintiff’s Complaint. Shortly thereafter,

 4   although a Rule 26(f) conference has not yet taken place, Plaintiff served premature discovery

 5   requests on Defendants.

 6          On May 31, 2022, in an attempt to correct the deficiencies in her original Complaint,

 7   Plaintiff filed her FAC against Defendants, asserting the same causes of action as her Complaint.

 8   See FAC, Dkt. 16 (bringing claims for violations of the Americans with Disabilities Act,

 9   Rehabilitation Act, Unruh Act, as well as for fraud, invasion of privacy, breach of contract,

10   negligence and NIED). Defendants moved to dismiss Plaintiff’s FAC on June 14, 2022 (“Motion

11   to Dismiss Plaintiff’s FAC”). Dkt. 18. Defendants also requested that the Court take judicial

12   notice of Meta’s Terms of Service and Data Policy. Dkt. 19. Plaintiff failed to oppose

13   Defendants’ Motion to Dismiss Plaintiff’s FAC and Defendants’ Request for Judicial Notice,

14   which were due on June 28, 2022 pursuant to Local Rule 7-3. See Defendants’ Reply ISO

15   Motion to Dismiss Plaintiff’s FAC, Dkt. 24. Instead, Plaintiff filed the present Motion, asking the

16   Court to either strike Defendants’ Motion to Dismiss Plaintiff’s FAC or convert Defendants’

17   Motion into a motion for summary judgment. Dkt. 23.

18   III.   ARGUMENT
19          The Court should deny Plaintiff’s Motion to convert Defendants’ Motion to Dismiss into a
20   motion for summary judgment because Defendants’ reliance on documents that are subject to

21   judicial notice was appropriate. Relatedly, the Court should ultimately grant Defendants’ Motion

22   to Dismiss Plaintiff’s FAC because Plaintiff has failed to oppose it, which constitutes an

23   abandonment of Plaintiff’s claims.

24          A.      The Court Should Deny Plaintiff’s Motion Because Defendants Relied On
                    Documents That Are Subject To Judicial Notice
25
            The Court should not convert Defendants’ Motion to Dismiss Plaintiff’s FAC into a
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     motion for summary judgment because Defendants requested (and the Court should grant) that
27
     the Court take judicial notice of the materials at issue in her FAC—Meta’s Terms of Service and
28
     Data Policy. On a motion to dismiss, “a court may [] consider certain materials—documents
                                                    3
                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                      Case No. 3:21-cv-10075-EMC
         Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 5 of 7



 1   attached to the complaint, documents incorporated by reference in the complaint, or matters of

 2   judicial notice—without converting the motion to dismiss into a motion for summary judgment.”

 3   Letizia v. Facebook, Inc., 267 F. Supp. 3d 1235 (N.D. Cal. July 14, 2017) (taking judicial notice

 4   of Meta’s Terms of Service). Plaintiff merely asserts that “when extrinsic evidence is presented,

 5   a court shall convert the Motion to a Motion for Summary Judgment.” Motion at 1. But Plaintiff

 6   ignores the fact that the documents at issue are proper subjects of judicial notice, see Defendants’

 7   Request for Judicial Notice (“RJN”) ISO Defendants’ Motion to Dismiss Plaintiff’s FAC, and the

 8   Court can rely on them. See, e.g., Kidstar v. Facebook, Inc., 2021 WL 1110227, *2 (N.D. Cal.

 9   March 23, 2021) (granting motion to dismiss and noting that although a court generally may not

10   consider material beyond the pleadings, documents subject to judicial notice can be considered

11   without converting “a motion to dismiss to one for summary judgment”).

12           Both documents at issue are judicially noticeable. Courts consistently take judicial notice

13   of online terms of use and data policies, especially where, as here, Plaintiff relied on them to form

14   the basis of her claims. See, e.g., FAC (alleging breach of contract claim premised on Meta’s

15   Terms of Service); see also In re Facebook, Inc., Consumer Privacy User Profile Litig., 402 F.

16   Supp. 3d 767, n.12 (taking judicial notice of Facebook’s Terms of Service and Data Policy

17   because they were incorporated by reference into the complaint); Letizia, 267 F. Supp. 3d 1235

18   (taking judicial notice of Meta’s Terms of Service); In re Facebook, Inc. Securities Litig., 405 F.

19   Supp. 3d 809, 829 (N.D. Cal. 2019) (taking judicial notice of Meta’s Data Policy among other
20   documents).3 Moreover, as explained further below, Plaintiff has not contested the existence or

21   authenticity of these documents (nor could she). Accordingly, the Court should consider Meta’s

22   Terms of Service and Data Policy and rule on Defendants’ Motion to Dismiss.

23
     3
24     Although Meta’s Terms of Service and Data Policy are judicially noticeable, even if the Court
     denies Defendants’ Request for Judicial Notice (it should not), it does not need to convert
25   Defendants’ Motion to Dismiss into a motion for summary judgment. See Williams v. Facebook,
     Inc., 384 F. Supp. 3d 1043 (N.D. Cal. 2018) (denying Facebook’s request for the court to take
26   judicial notice of an irrelevant article and granting defendant’s motion to dismiss without
     considering the article, but not converting the motion to a motion for summary judgment);
27   Williams v. County of Alameda, 26 F. Supp. 3d 925, 935 (N.D. Cal. 2014) (finding that although
     it would not take judicial notice of the evidence submitted by defendants, “given the relatively
28   early stage” of litigation, the court exercised its discretion and declined to convert defendants’
     motion to dismiss into a motion for summary judgment).
                                                    4
                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                      Case No. 3:21-cv-10075-EMC
       Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 6 of 7



 1          B.      The Court Should Grant Defendants’ Motion To Dismiss And Request for
                    Judicial Notice
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            The Court should not only deny Plaintiff’s Motion, but should also ultimately grant
 3
     Defendants’ RJN and Motion to Dismiss Plaintiff’s FAC. As to Defendants’ unopposed RJN,
 4
     Plaintiff failed to address any of Defendants’ arguments by filing an opposition. Courts often
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     grant requests for judicial notice where the plaintiff does “not oppose the Court taking judicial
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     notice,” or does not dispute the authenticity of the document at issue. Letizia, 267 F. Supp. 3d at
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     1242 (granting request for judicial notice because plaintiffs did not “dispute[] the existence and
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     authenticity of Facebook's contracts and because Plaintiffs [did] not oppose the Court taking
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     judicial notice” of certain documents); see, e.g., Chu v. Fay Servicing, LLC, 2016 WL 5846990,
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     at *3 (N.D. Cal. Oct. 6, 2016) (granting request for judicial notice where plaintiff did not file an
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     opposition and so plaintiff was not deemed to dispute the authenticity of any of the exhibits).
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            The same is true for Defendants’ Motion to Dismiss Plaintiff’s FAC. Plaintiff’s failure to
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     oppose Defendants’ Motion to Dismiss “constitutes an abandonment of the claims for which
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     dismissal is being sought.” King v. Contra Costa Cnty., 2020 WL 978632, at *2 (N.D. Cal. Feb.
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     28, 2020) (finding plaintiff’s failure to oppose, standing alone, justified granting the motion to
16
     dismiss); see, e.g., Rope v. Facebook, Inc., 2017 WL 7510686, at *1 (C.D. Cal. Dec. 20, 2017)
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     (granting motion to dismiss due to Plaintiff’s failure to timely file an opposition); Gladden v.
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     Facebook, 2021 WL 259256, at *1 (S.D. Ohio June 24, 2021) (granting defendants’ motion to
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     dismiss where plaintiff failed to oppose). Moreover, Plaintiff’s failure to file an opposition to
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     Defendants’ Motion is in contravention of Local Rule 7-3 and is thus grounds for granting
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     Defendants’ Motion. Mira v. Am. Home Mortg. Servicing, Inc., 2010 WL 4117390, at *1 (N.D.
22
     Cal. Oct. 18, 201) (“the Ninth Circuit has held that the failure to file an opposition to a motion to
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     dismiss in contravention of the local rules or court order is grounds for granting the motion”);
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     Local Rule 7-3 (oppositions due within 21 days of dispositive motion’s filing); Jones v. Ghaly,
25
     2022 WL 1128680, at *2 (N.D. Cal. April 15, 2022) (dismissing complaint based on failure to
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     comply with LR 7-3 and oppose defendant’s motion). By failing to oppose Defendants’ Motion to
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     Dismiss, Plaintiff did not address Defendants’ argument that Plaintiff failed to state a viable claim
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     for every cause of action in her FAC, and that many of her claims are barred by Section 230.
                                                    5
                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                      Case No. 3:21-cv-10075-EMC
         Case 3:21-cv-10075-EMC Document 27 Filed 07/12/22 Page 7 of 7



 1   Accordingly, the Court should deny Plaintiff’s present Motion and grant Defendants’ unopposed

 2   Motion to Dismiss.4

 3   IV.     CONCLUSION
 4           For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiff’s

 5   Motion.

 6

 7   Dated: July 12, 2022                               ORRICK, HERRINGTON & SUTCLIFFE LLP
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 9                                                By:   /s/ Jacob M. Heath
                                                        JACOB M. HEATH
10
                                                        Attorney for Defendant
11                                                      META PLATFORMS, INC.
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       The Court should deny Plaintiff’s additional request that the Court grant her an extension of
24   time to file a second amended complaint and/or respond to Defendants’ Motion until the Rule
     26(f) conference is held and discovery has been responded to. Plaintiff has already amended her
25   complaint once, which is all that she is entitled to do as a matter of course. FRCP Rule 15(a)(1).
     If Plaintiff wishes to amend her complaint again, she can only do so with Defendants’ consent or
26   with the Court’s leave. As Defendants asserted in their Motion to Dismiss Plaintiff’s FAC, Dkt.
     16, leave to amend would be inappropriate here. Plaintiff has already amended her complaint at
27   least once with knowledge of the deficiencies Defendants identified in the original complaint—
     and Plaintiff has failed to cure them. Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en
28   banc) (Leave to amend is inappropriate if “the pleading could not possibly be cured by the
     allegations of other facts.”).
                                                    6
                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                      Case No. 3:21-cv-10075-EMC
